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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

Miko Peled, et al.,                                   )
                                                      )
               Plaintiffs,                            )
                                                      )
        v.                                            )   Case No. 1:17-cv-260 (RBW)
                                                      )
BENJAMIN NETANYAHU, et al.,                           )
                                                      )
               Defendants.                            )


                                 [PROPOSED] ORDER

        Upon consideration of Plaintiffs’ Counsel’s Memorandum in Opposition to

Defendant Billet Feit & Preis P.C.’s Motion for Relief Under Local Rule 5.1(c)(1), for

the reasons set forth therein, the Court is of the opinion and finds that Defendant’s

Motion for Relief Under Local Rule 5.1(c)(1) should be denied. Accordingly, it is this

______ day of _____________, 2017,


        ORDERED that the Defendant Billet Feit & Pries P.C.’s Motion for Relief Under

Local Rule 5.1(c)(1), be and hereby is DENIED.




                                              ___________________________________

                                                 UNITED STATES DISTRICT JUDGE




	  
